Case 2:03-cV-02217-.]P|\/|-de Document 379 Filed 08/29/05 Page 1 of 5 Page|D 386

 

IN THE UNITED sTATEs DIsTRIcT coURT aanL” _”*__ng
FoR THE WESTERN DIsTRIcT oF TENNESSEE
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coMPANY , INc . , CLER. U.S. DiSIRlCT OCIHT
WfD OF `FN, MEMP|'”S

Plaintiff and

Counter-Defendant,
v. No. 03-2217 Ml/V
SUNTRUST BANKS, INC., SUNTRUST
BANK , SUNTRUST BANK-ATLANTA ,
SUNTRUST BANK~NASHVILLE, N.A.,
SUNTRUST EQUITABLE SECURITIES

coRPoRA'rIoN, and
sUN'rRUsT cAPITAL MARKF..TS, INc.,

Defendants and
Counter-Plaintiffs.

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ORDER GRANTING MOTION FOR STAY ON APPEAL

 

Before the Court is the Motion for Stay on Appeal of
Plaintiff Power and Telephone Supply Company, Inc. (“Power and
Telephone"), filed August 5, 2005. Defendants SunTrust Banks,
Inc., SunTrust Bank, and SunTrust Capital Markets, lnc., filed a
response in opposition on August 16, 2005. Plaintiff filed a
Reply Memorandum in Support of Motion for Stay on Appeal on
August 24, 2005. For the following reasons, the plaintiff’s
motion for Stay pending Appeal is GRANTED. The amount of the

supersedes bond is fixed at $850,000.00.

Th|s document entered on the docket sheet in com iiance

w|th Fiu|e 58 and/or 79(a) FRCP on 8 'LQ "0 3 /7?'

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DISCUSSION

On May lO, 2005, the Court granted Defendants’ motion for
summary judgment regarding all of Plaintiff’s claims against
Defendants. On May ll, 2005, the Court granted in part and
denied in part Defendants' motion for summary judgment regarding
its claim for indemnification of attorney’s fees and costs
incurred in defending Plaintiff's claims. On June 9, 2005,
Plaintiff filed a notice of appeal to the United States Court of
Appeals for the Sixth Circuit regarding the Court's order
granting Defendants' motion for summary judgment on all of
Plaintiff’s claims. On July 25, 2005, the Court granted
Defendants' fee application and ordered Plaintiff to pay
$802,535.93 in attorney’s fees and costs to Defendants. On
August 29, 2005, the Court entered a final judgment in this case
dismissing all of Plaintiff's claims and entering judgment in
favor of Defendants in the amount of $802,535.93 on their
counterclaim.

Plaintiff requests that the Court stay the enforcement of
the judgment in this case pending the resolution of Plaintiff’s
appeal. Plaintiff has offered to post a supersedas bond in the
amount of $802,535.93 in order to secure the stay. Defendants
contend that Plaintiff’s proposed bond is insufficient because

Plaintiff has failed to indicate what surety it proposes to use

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and that the amount of the bond does not provide full security to
Defendents.

Federal Rule of Civil Procedure 62(d) provides that a party
may obtain a stay of enforcement of a judgment by giving a
supersedes bond at or after the time of filing a notice of
appeal. Fed. R. Civ. P. 62(d). A stay is effective when the
supersedes bond is approved by the court. lg; The purpose of a
supersedes bond is to preserve the status quo while protecting
the non-appealing party’s rights pending appeal. Poplar Grove
Plantinq and Ref. Co. v. Bache Halsev Stuart, Inc., 600 F.2d
1189, 1190 (5th Cir. 1979). As a general rule, courts ere to
require full security when an unconditional money judgment is
stayed pending appeal. Cobb v. Timez Inc., No. 3:94-0836, 2000
U.S. Dist. LEXIS 21786, at *3 (M.D. Tenn. May 23, 2000)(citation
omitted). Full security generally includes the whole amount of
the judgment remaining unsatisfied, costs on appeal, interest and
damages for delay. ldé (citation omitted).

Plaintiff has offered to post a bond for the full amount of
the judgment in this case - $802,535.93. Defendents contend that
Plaintiff should post a bond for at least $l million with an
appropriately rated surety company in order to account for post-
judgment interest and attorney's fees end costs on appeal.
Alternetively, Defendents request that the Court place certain

financial restrictions on Plaintiff. Having reviewed the record

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and the parties' submissions, the Court finds that a supersedes
bond in the amount of $850,000.00 will suffice to protect
Defendents’ interests and appropriately preserve the status quo
pending appeal.

The stay will be effective upon compliance with the
provisions of Rule 62(d) of the Federal Rules of Civil

Procedure.l

So ORDERED this iga day of August, 2005.

Q. mC QML

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

1 Should Defendents have any objection to the relevant
rating of the surety company proposed by Plaintiff or any
evidence that Plaintiff’s financial condition may jeopardize its
ability to satisfy the judgment, Defendents may raise those
concerns at that time.

   

UND1TE STATES D1STR1C COURT - WESTENR 11$RCTOF TENNESEE

Notice of Distribution

ThiS notice confirms a copy cf the document docketed as number 379 in
case 2:03-CV-022]7 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

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Honcrable J on McCalla
US DISTRICT COURT

